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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, : 22crl105 (DLC)

-Vr : ORDER

JAMES VELISSARIS,
Defendant.

DENISE COTE, District Judge:

Having reviewed the defendant’s application to file
exhibits under seal and the documents at question, is hereby

ORDERED that the application is denied. Exhibits A and B
to the defendant’s reply memorandum of law shall be filed
publicly and are attached to this Order.

SO ORDERED:

Dated: New York, New York
April 6, 2023

Aas, [N.

FENTSE “COTE
United States District Judge

